Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 1 of 24




              EXHIBIT L
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 2 of 24




                         Exhibit L - Page 1 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 3 of 24




                         Exhibit L - Page 2 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 4 of 24




                         Exhibit L - Page 3 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 5 of 24




                         Exhibit L - Page 4 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 6 of 24




                         Exhibit L - Page 5 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 7 of 24




                         Exhibit L - Page 6 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 8 of 24




                         Exhibit L - Page 7 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 9 of 24




                         Exhibit L - Page 8 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 10 of 24




                         Exhibit L - Page 9 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 11 of 24




                         Exhibit L - Page 10 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 12 of 24




                         Exhibit L - Page 11 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 13 of 24




                         Exhibit L - Page 12 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 14 of 24




                         Exhibit L - Page 13 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 15 of 24




                         Exhibit L - Page 14 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 16 of 24




                         Exhibit L - Page 15 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 17 of 24




                         Exhibit L - Page 16 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 18 of 24




                         Exhibit L - Page 17 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 19 of 24




                         Exhibit L - Page 18 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 20 of 24




                         Exhibit L - Page 19 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 21 of 24




                         Exhibit L - Page 20 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 22 of 24




                         Exhibit L - Page 21 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 23 of 24




                         Exhibit L - Page 22 of 23
Case 2:17-cv-02000-APG-GWF Document 42-18 Filed 08/18/17 Page 24 of 24




                         Exhibit L - Page 23 of 23
